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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                                CHAPTER 11

 SCUNGIO BORST & ASSOCIATES, LLC,                      BANKRUPTCY NO. 22-10609(AMC)

                              Debtor.

                  NOTICE OF HEARING AND RESPONSE DEADLINE

      HASAN TAHIRAJ, a non-judgment creditor of Scungio Borst & Associates, LLC (the
“Debtor”) has filed a motion for relief from the Automatic Stay imposed by 11 U.S.C. § 362(d),
to allow his personal injury action to proceed in New York State Supreme Court (the
“Application”). The Application will be heard before Hon. Ashely M. Chan, Bankruptcy Judge, at
Robert N.C. Nix Sr. Federal Courthouse 900 Market Street, Courtroom 4, Philadelphia, PA 19107
on May 4, 2022, at 12:30 p.m. local time, and will be telephonic.

          1.   Your rights may be affected. You should read these papers carefully and
               discuss them with your attorney, if you have one in this bankruptcy case. (If
               you do not have an attorney, you may wish to consult an attorney.)

          2.   If you do not want the court to grant the relief sought in the Application or if
               you want the court to consider your views on the Application, then on or before
               April 27, 2022, you or your attorney must file a response to the Application.
               (see Instructions below).

          3.   If you do not file a response to the Application, the court may enter an order
               granting the relief requested in the Application.

          4.   You may contact the Bankruptcy Clerk’s office for Philadelphia cases at (215)
               408-2800 to find out whether a hearing has been scheduled.

          5.   If a copy of the Application is not enclosed, a copy of the Application will be
               provided to you if you request a copy from the attorney whose name and address
               is listed on the next page of this Notice.
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                                       Filing Instructions

       6.     If you are required to file documents electronically by Local Bankruptcy Rule 5005-
              1, you must file your response electronically.


       7.     If you are not required to file electronically, you must file your response at


                             Clerk
                             United States Bankruptcy Court
                             for the Eastern District of Pennsylvania
                             The Robert N.C. Nix, Sr. Federal Courthouse
                             900 Market Street, Suite 400
                             Philadelphia, PA 19106

       8.     If you mail your response to the Bankruptcy Clerk’s office for filing, you must
              mail it early enough so that it will be received on or before the date stated in
              Paragraph 2 on the previous page of this Notice.

       9.     On the same day that you file or mail your Response to the Application, you must
              mail or deliver a copy of the Response to the following:

                             David Tolchin
                             Jaroslawicz & Jaros PLLC
                             225 Broadway, 24th Fl
                             New York, NY 10007
                             Phone No.: (212) 227-2780
                             E-mail addresses:     dtolchin@lawjaros.com
Dated: April 8, 2022
